Case 1:21-cv-03354-BAH Document 101-2 Filed 09/29/23 Page 1 of 3




            EXHIBIT 1
           Case 1:21-cv-03354-BAH Document 101-2 Filed 09/29/23 Page 2 of 3



Trump hosts a $100,000-per-person fundraiser to help
Giuliani pay legal bills
   pbs.org/newshour/politics/trump-hosts-a-100000-per-person-fundraiser-to-help-giuliani-pay-legal-bills

Associated Press                                                                                       September 8, 2023


NEW YORK (AP) — Former President Donald Trump hosted a $100,000-a-plate fundraiser
for former New York Mayor Rudy Giuliani at his Bedminster, New Jersey, golf club as Giuliani
struggles to pay his mounting legal bills.

Giuliani, a longtime Trump ally who also served as the fellow Republican’s lawyer, is facing a
barrage of legal fees, fines, sanctions and damages related to his work helping Trump try to
overturn the 2020 election and other cases. He was indicted last month along
with Trump and 17 others in Georgia for what Fulton County District Attorney Fani Willis has
described as a wide-ranging conspiracy to subvert the will of the voters after Trump lost to
Democrat Joe Biden.

https://www.pbs.org/newshour/politics/read-the-full-georgia-grand-jury-report-that-
recommended-more-indictments-in-the-2020-election-caseGiuliani’s son, Andrew, said in a
radio interview that the Thursday night event was expected to raise more than $1 million for
his father and that Trump had committed to hosting a second event at his Mar-a-Lago club in
Palm Beach, Florida, later in the fall or early winter.

“So that will be very helpful,” he said on WABC radio. Still, he said, “It won’t be enough to get
through this.”

He has created a committee, the Giuliani Defense PAC, to raise funds for his father. Allies
have also been soliciting checks for what they have called The Rudy Giuliani Freedom Fund.

READ MORE: Read the full Georgia grand jury report that recommended more indictments
in the 2020 election case

Brian Tevis, who is representing Giuliani in Georgia, said on CNN on Thursday night that he
assumed the former mayor was trying to raise “as much as possible,” adding, “And I think
that they’re going to need it.”

Giuliani was held liable last month by a federal judge in a defamation lawsuit brought by two
Georgia election workers who say they were falsely accused of fraud. A trial could result in
Giuliani being ordered to pay significant damages to the women, in addition to the tens of
thousands of dollars in legal fees he’s already being directed to pay.




                                                                                                                           1/2
          Case 1:21-cv-03354-BAH Document 101-2 Filed 09/29/23 Page 3 of 3

To generate cash, he’s hawked autographed 9/11 shirts and pitched sandals sold by election
denier Mike Lindell, the CEO of MyPillow. He’s also joined Cameo, a service through which
celebrities record short videos for profit.

In July, he put his Manhattan apartment up for sale for $6.5 million.

Last year, a judge threatened Giuliani with jail in a dispute over money owed to his third ex-
wife. Giuliani said he was making progress paying the debt, which she said totaled more
than $260,000.

In May, a woman who says she worked for Giuliani sued him, alleging that he owed her
nearly $2 million in unpaid wages and that he had coerced her into sex. Giuliani denied the
allegations.

His lawyers have repeatedly cited his financial troubles in court filings.




                                                                                                 2/2
